EXHIBIT A

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f orange was ust-impasse 1' drewmymsei~ ssa mm ii/ii orman mac he`w¢mm be used mm mcinqsa‘wrssiss - _ .
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